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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10
        MARK BAKER,                                        CASE NO. C10-5927RJB
11
                               Plaintiff,                  ORDER
12
                 v.
13
        CITY OF EDGEWOOD, et al.,,
14
                               Defendant.
15

16           This matter comes before the court on a letter filed March 7, 2011 by plaintiff Mark

17 Baker. Dkt. 26. The court has reviewed the relevant documents and the remainder of the file

18 herein.

19           On February 25, 2011, the court issued an order, informing plaintiff that the court would

20 dismiss this case without prejudice, effective March 26, 2011, provided, however, that, not later

21 than March 25, 2011, plaintiff, if he has properly served defendants, may file certificates of

22 service, showing that defendants have been properly served. Dkt. 25, at 5.

23           On March 7, 2011, plaintiff filed a document, outlining a search that was allegedly made

24 on March 3, 2011, at his home, by the Edgewood Police and the Pierce County Sheriff. Dkt. 26.


     ORDER- 1
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 1 Plaintiff contends that the search was done to prevent him from responding to the court’s order

 2 requiring that he properly serve the defendants. Dkt. 26, at 2. Plaintiff requests that the court

 3 order that documents related to this case and to a case filed by Lawrence Beaumont, and

 4 software, that were seized during this search be returned to him; that the court “waive the service

 5 requirement as punishment for the police act [sic] and rule that service has been made or that the

 6 time calculations for re-service not begin until all seized documents are returned”; that plaintiff

 7 be permitted to modify his claim for damages; that the court appoint counsel to represent him,

 8 “regardless of Appeal status on this matter”; that the court punish defendants; that the court issue

 9 an order requiring that Police Chief Knutson have no further contact with plaintiff; that the court

10 request that the Department of Justice conduct an investigation for continued civil rights

11 violations; that, in the event that plaintiff and/or Lawrence Beaumont, his caregiver and domestic

12 partner, are arrested, he be provided with legal research and writing materials; that the court

13 issue a writ of habeas corpus in the event that he and Mr. Beaumont miss any court hearing; that

14 the court issue arrest warrants for all persons who deprive plaintiff and others in his home of

15 their constitutional rights; and that the court grant default judgment in plaintiff’s favor. Dkt. 26,

16 at 2-3.

17           Plaintiff’s request that the court issue the orders he has requested is without merit, does

18 not comply with the federal or local rules of procedure, and is a waste of the court’s time.

19 Plaintiff is clearly able to access the court, as evidenced by this document. The other requests are

20 not appropriate, and/or are not within the jurisdiction of the court.

21           Plaintiff has been informed that he may file certificates of service, not later than March

22 25, 2011, showing that the named defendants have been properly served, in accord with

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 1 Fed.R.Civ.P. 4. The court allowed plaintiff adequate time in which to accomplish service. If he

 2 fails to do so, the court has informed him that the case will be dismissed without prejudice.

 3          Finally, plaintiff is informed that, even though he is proceeding pro se, he is required to

 4 follow the Federal Rules of Civil Procedure and the Local Rules for the U.S. District Court for

 5 the Western District of Washington.

 6          Accordingly, it is hereby ORDERED that the requests plaintiff has made in Dkt. 26 ARE

 7 DENIED.

 8          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 9 to any party appearing pro se at said party’s last known address.

10          Dated this 15th day of March, 2011.



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                                           ROBERT J. BRYAN
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                                           United States District Judge
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     ORDER- 3
